 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 1 of 7 Page ID #:382



        1
            Jen-Feng Lee, SBN 204328
        2   jflee@ltpacificlaw.com
            Kenneth K. Tanji, Jr., SBN 162273
        3   ktanji@ltpacificlaw.com
        4   LT Pacific Law Group, LLP
            17800 Castleton Street, #560
        5   City of Industry, CA 91748
        6   T: 626-810-7200
            F: 626-810-7300
        7

        8
            Attorneys for Defendant
            HENRY CHUNG
        9
                                   UNITED STATES DISTRICT COURT
    10
                                 CENTRAL DISTRICT OF CALIFORNIA
    11
            LUBBY HOLDINGS LLC, a Delaware               No. 2:18-cv-00715-RGK-JC
    12
            limited liability company; VAPOROUS
    13      TECHNOLOGIES, INC., a Delaware               DEFENDANT HENRY CHUNG’S
            corporation;                                 Brief re
    14                                                   Damages Disclosure and Sanctions
    15                           Plaintiffs,

    16          vs.
    17
            HENRY CHUNG, an individual; MING
    18      CHEN, an individual; DEEPVAPES,
    19
            INC., a California Corporation d/b/a
            BOOM VAPORIZER; DOES 1-10,
    20      inclusive,                                   Hon. R. Gary Klausner
    21

    22
                                 Defendants.

    23

    24
                During Final Pre-Trial Conference held on 3/18/2019, parties reported to the
    25
            Court regarding Rule 26 damages disclosure dispute that went on during the past
    26
            month. Pursuant to the Court’s order, Defendant Chung presents this brief.
    27

    28
            ____________________________________________________________________________________

                      DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                1
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 2 of 7 Page ID #:383



        1
                     ISSUE: Whether Plaintiffs complied with the Rule 26 damages
        2
                     disclosure obligation, and, if not, whether Rule 37 sanction should apply
        3            to Plaintiffs, forbidding the use at trial any information or evidence that
        4            is not properly disclosed.
        5

        6       I. Summary Facts Leading Up to The Disputed Issue
        7       a. Fact discovery ended on January 4, 2019.
        8       b. Parties timely exchanged expert reports on patent technical issues
        9          (infringement and invalidity); neither party engaged damages experts.
    10          c. By 2/25/2019, when Plaintiffs filed their LR-16 Memorandum of Contention
    11             of Facts and Laws (“Contention”, ECF #35), Plaintiffs did not make any
    12             rule-complaint disclosure re computation of damages.
    13          d. Based upon all of Plaintiffs’ disclosures, including all discovery documents,
    14             Defendant Chung did not receive the rule-compliant damages disclosure
    15             from Plaintiffs. See Declaration by Defense Counsel.
    16          e. Starting on 2/26/2019, parties engaged in meet-and-confers (via letters,
    17             emails and phone conferences) related to Plaintiffs’ failure to make proper
    18             damages disclosure during discovery, including their pre-trial disclosure
    19             obligation under Rule 26(c). Defendant’s letters are attached as Exhibit A.
    20          f. Plaintiffs provided no “computation of damages” of any kind related to how,
    21             or how much, they plan to seek for damages under the Lost Profit category
    22             or the Reasonable Royalty category. (The only “damages computation”
    23              Plaintiffs provided was through a phone discussion where Plaintiffs’
    24             counsel indicated that they would seek $0.75-per-piece royalty, a figure
    25             first disclosed to Defendant during the 2/20/2019 mediation. However,
    26             there is no such disclosed basis, or formula of royalty demand, for the
    27             $0.75-per-piece royalty outside of the mediation context.)
    28
            ____________________________________________________________________________________

                  DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                2
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 3 of 7 Page ID #:384



        1
                 g. Plaintiffs pointed to their 1st Supplemental Rule 26(e) Disclosures (served
        2
                       on 1/3/2019) and asserted that they complied with the litigation rules re
        3              damages disclosure; said Supplemental Rule 26(e) Disclosure was attached
        4              as Exhibit B.
        5        h. Given all of Plaintiffs’ 35 pages of produced documents (excluding patent
        6              and prosecution files), the Rule 26(a) Initial Disclosure, the Supplemental
        7              Rule 26(e) Disclosure and tidbits gleaned from Plaintiffs’ ECF #35
        8              Contention, there is no computation of any kind related to the two
        9              categories of damages Plaintiffs are seeking: either Lost Profit or
    10                 Reasonable Royalty
    11

    12           II.      Arguments
    13           Rule 26(a)(1)(A)(iii) requires disclosure of “computation of each category of
    14      damages claimed” by the Plaintiff. A plaintiff “cannot shift to the defendant the
    15      burden of attempting to determine the amount of the plaintiff’s alleged damages.”
    16      Jackson v. United Artists Theatrie Circuit, 278 F.R.D. 586, 593 (D. Nev. 2011).
    17      Defendants are not required to compute damages.
    18           The damages disclosure obligation is codified in Rule 26(a) (Initial
    19      Disclosure”) and is further included in Rule 26(e) (Supplemental Disclosure) and
    20      Rule 26(a)(3) (Pretrial Disclosure).
    21           Simply providing documents or other information and assuming that the
    22      defendant will somehow divine the plaintiff’s damages computation from those
    23      documents or other information is insufficient and not in accord with the

    24      requirements of Rule 26(a) and (e). Patton v. Wal-Mart Stores, 2013 wl 6158461,

    25      at *4.

    26           Rule 37(c)(1) gives teeth to these requirements by forbidding the use at trial of

    27      any information required to be disclosed by Rule 26(a) that is not properly

    28
            ____________________________________________________________________________________

                       DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                    3
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 4 of 7 Page ID #:385



        1
            disclosed. Ketab Corp. v. Mesriani Law Group, 2016 WL 5921767, at *1 (citing
        2
            to Yeti by Molly v. Deckers Outdoors, 259 F.3d 1101, 1106 (9th Cir. 2001)).
        3
                 This point of law (Rule 26 obligation re disclosure of damages computation
        4   and Rule 37 “self-executing sanction unless justified”) is abundantly clear.
        5        This Court in fact dealt with a similar factual scenario and made a ruling
        6   consistent with the authorities cited herein. See Hsu v. Thorsen Tool, 2014 WL
        7   12607677.
        8         A few of the Central District of California similar rulings are given herein.
        9                  Frontline Medical v. Coventry Health Care, 263 FRD 567 (2009)
    10                     Spin Master v. Zobmondo Entertainment, 2011 WL 13127349.
    11                     TCL Comm. v. Telefonaktienbolaget LM Ericsson, 2016 WL 6562075.
    12                     Bennion and Deville Fine Homes v. Windermere , 2018 WL 4802011.
    13           The court in Hoffman v. Construction Protective Svs., 541 F.3d 1175, at 1180
    14      (9th Cir. 2008) held that ‘we reject the notion that the district court was required to
    15      make a finding of willfulness or bad faith to excluded the damages evidence. To
    16      the contrary, the portion of Rule 37 relied on by the district court has been
    17      described as “a self-executing, automatic sanction to provide a strong inducement
    18      for disclosure of materials” . . . The implementation of the sanction is appropriate
    19      “even when a litigant’s entire cause of action … [will be] precluded”’.
    20           During repeated meet-and-confers, Plaintiffs asserted, in counsel’s 3/6/2019
    21      11:23 pm email, that ‘[P]laintiff in our case has met its obligations for the damages
    22      calculations under these standards. Our client’s supplemental disclosures states that
    23      we will seek damages in the form of “Plaintiff’s losses from Defendants’ sales of
    24      infringing products, as measured by Plaintiffs’ retail price of each sale of
    25      Defendants’ infringing products”. Thus, from that statement, your client was able
    26      to gauge his risk factor and make informed decision for settlement and the
    27      litigation.’
    28
            ____________________________________________________________________________________

                    DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                  4
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 5 of 7 Page ID #:386



        1
                Plaintiffs’ Supplemental Rule 26(e) Disclosures (see Exhibit B) at most
        2
            amounted to “broad types of damages”, which fell short of the “lump sum
        3
            statement of damages”, much less a “more detailed specification of damages”, as
        4   instructed by City and County of San Francisco v. Tutor-Saliba Corp., 218 FRD
        5   219, 221 (N.D. Cal. 2003).
        6        For the claimed Lost Profit damages sought by Plaintiffs, the explanation in
        7   Frontline Medical, at 569 (citing to Design Strategy v. Davis, 469 F.3d 284, 295;
        8   2nd Cir. 2006) is applicable: there is nothing close to the required “computation of
        9   expenses and lost profits”, and supported by documents.
    10          For the claimed Reasonable Royalty damages sought by Plaintiffs, the ruling
    11      in Veritas Operating Corp. v Microsoft, 2008 WL 657936 (adopted as 2008 WL
    12      687116) is instructive: Microsoft’s claim of reasonably royalty fee for the asserted
    13      5,884,147 patent is denied for failure to provide a “specific computation of
    14      damages” that Veritas was entitled to.
    15          The TCL Comm, v. Telefonaktienbolaget court gave a similar ruling: TCL’s
    16      lack of making damages disclosure in its 26(a) and (e) disclosures, including all
    17      other discovery responses and productions, warranted the grant of defense motion
    18      of no damages, including its reasonable royalty claims.
    19

    20          III.    Conclusion
    21          During discovery, Defendant Chung produced the sales information of the
    22      accused products for Plaintiffs to engage in the needed computation of damages.
    23          Leading up to the trial prep phase, Plaintiffs provided no rule-compliant
    24      disclosure of damages computation, given all the Plaintiffs’ exhibits (Nos. 101 –
    25      117, identified in Joint Exhibit List filed as ECF #36) and the “Summary of
    26      Plaintiffs’ Key Evidence in Support of its claims” in Plaintiffs’ Contention (ECF
    27      #35), despite repeated meet-and-confers.
    28          Plaintiffs’ knowing violation of litigation rules should not be tolerated.
            ____________________________________________________________________________________

                   DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                  5
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 6 of 7 Page ID #:387



        1
                The Court is respectfully urged to find that Plaintiffs’ violation of Rule 26
        2
            damages computation obligation is deliberate and there is no justification to avoid
        3
            the Rule 37 sanction.
        4       The Court is respectfully urged to issue an order precluding Plaintiffs from
        5   introducing testimony or evidence regarding their damages claims, either in the
        6   form of Lost Profit or Reasonable Royalty.
        7

        8                                                    Respectfully Submitted,
        9
                                                             LT PACIFIC LAW GROUP LLP

    10      Dated: March 21, 2019
    11
                                                             /s/Jen-Feng Lee
                                                      By:
    12                                                       Jen-Feng (Jeff) Lee
    13
                                                             Kenneth Tanji, Jr.
                                                             Attorneys for Defendant, Henry Chung
    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
            ____________________________________________________________________________________

                   DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                 6
 Case 2:18-cv-00715-RGK-JC Document 49 Filed 03/21/19 Page 7 of 7 Page ID #:388



        1
                                            PROOF OF SERVICE
        2

        3
                   The undersigned certifies that the foregoing document, DEFENDANT
        4
            Henry Chung’s Brief re Damages Disclosure and Sanctions, was filed
        5
            electronically in compliance with Local Rule 5 – 3.3 and Federal Rules of Civil
        6
            Procedure. As such, this document was served on all counsel deemed to have
        7
            consented to electronic service. Local Rule 5 – 4.1.3.All other counsel of record or
        8
            per se parties not deemed to have consented to electronic service were served with
        9
            a true and correct copy of the foregoing by U.S. Mail, as identified below:
    10

    11             NONE.
    12

    13      On this 21st ay of March, 2019.

    14                                                /s/Jen-Feng Lee__________
    15                                                Jen-Feng Lee

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28
            ____________________________________________________________________________________

                   DEFENDANT CHUNG’S Brief re Damages Disclosure and Sanctions
63311                                                 7
